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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 5
     ATTORNEY FOR DEFENDANT
 6   MARIO FELLINI, III
 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,     )                  CR.-S-07-00432-EJG
11                                 )
          PLAINTIFF,               )                  STIPULATION AND ORDER
12                                 )                  TO MODIFY ONE DATE OF THE
          v.                       )                  PRE-SENTENCE INVESTIGATION
13                                 )                  REPORT FILING
     JAMES ROY MARTIN, et al.,     )
14                                 )
                                   )
15        DEFENDANTS.              )
     _______________________________)
16
17            Plaintiff United States of America, by its counsel, Assistant United States
18   Attorney. Mr. Michael D. Anderson, and defendant MARIO FELLINI, III, by his
19   attorney James R. Greiner, hereby stipulate and agree that all of the dates presently
20   set for the Judgment and Sentencing remain the same for the defendant except for one
21   date:.
22            The parties agree to modify the schedule as follows:
23            The Pre-Sentence Report shall be filed with
              the Court and disclosed to counsel no later
24            than                                                February 2, 2012
25
              All other dates remain the same. The Judgment and Sentencing date remains
26
     Friday, February 17, 2012. Probation agrees with this request.
27
28                                                1
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 1                                    Respectfully submitted,
                                      BENJAMIN B. WAGNER
 2                                    UNITED STATES ATTORNEY
 3
                                      /s/ Michael D. Anderson by e mail authorization
 4
     DATED: 1-26-12                   _____________________________________
 5                                    MICHAEL D. ANDERSON
                                      ASSISTANT UNITED STATES ATTORNEY
 6                                    ATTORNEY FOR THE PLAINTIFF
 7
     DATED: 1-26-12                   /s/ James R. Greiner
 8                                    _______________________________________
                                      James R. Greiner
 9                                    Attorney for Defendant
                                      MARIO FELLINI III
10
11
                                            ORDER
12
13           The Court has read and considered the parties agreement and stipulations and
14   the Court adopts the parties agreement and stipulation and modifies the Schedule for
15   disclosure of the Pre-Sentence Report as stated herein. All other dates remain the
16   same including the Judgment and Sentencing date remains, Friday, February 17,
17   2012.
18
19           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED
20
21   DATED: January 27, 2012.
22
23
24
25                             /s/ Edward J. Garcia
26                             EDWARD J. GARCIA
                               SENIOR UNITED STATES
27                             DISTRICT COURT JUDGE
28                                              2
